The court has given to the motion for a rehearing herein that attention and consideration which the gravity of the charge and the serious and awful consequences of the judgment pronounced below demand. No question has been raised which had not already been presented to this court and considered by it in its original opinion herein; and it is not shown that any express statute or controlling decision was overlooked by the court in deciding the case. We have listened attentively to the full and exhaustive argument of able and zealous counsel for plaintiff in error in support of the present motion, have carefully gone over the opinion heretofore rendered, and have searchingly re-examined the record; and from it all we are unable to deduce the existence of any reasonable ground to believe that the judgment of this court should or could be other than that already rendered. Our re-examination of the record and re-investigation of the matters presented have only confirmed our belief in the correctness of our former ruling. The motion for a rehearing will therefore be denied.
The time originally appointed for plaintiff in error's execution having passed, it is ordered that the judge of the district court of Comanche county execute a warrant in due form of law, cause the same to be attested by the clerk under the seal of the court, and to be delivered to the sheriff of said county, commanding said sheriff to execute plaintiff in error, John Hopkins, between sunrise and sunset on Friday, December 30, 1910, in accordance with law and the judgment of said court heretofore rendered. *Page 202 